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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                        Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                        Defendants.



          This Court has undertaken a variety of measures and issued several orders in advance of

   the four-week trial in this case scheduled for October 25 to November 19, 2021, to govern the

   conduct of the trial so as to ensure that it can be conducted in an efficient way and in manner that

   reduces risk of spread of COVID-19. See Dkt. 1146 (COVID-19 Health Precautions Order); see

   also Dkts. 991, 1172 (Pretrial Orders). The Court has also considered Plaintiffs’ submission and

   proposed order regarding protocols for public and press access filed this day.

          As one such measure to reduce the number of persons in the Courtroom and Courthouse

   during trial as a necessary means to reduce the risk of spread of COVID-19, and consistent with

   security precautions that have been recommended by the U.S. Marshal’s Service, the Court

   hereby ORDERS as follows during trial between October 25 and November 19, 2021:

          Courtroom Attendance: The Court will restrict Courtroom attendance to litigants,

   counsel of record and their staff, jurors, witnesses, and court staff and security. Dkt. 1146 at 4.

          Courthouse Attendance: The Court will restrict Courthouse attendance to only litigants,

   counsel of record and their staff, jurors, and witnesses in this case; court staff and security;

   employees of other offices in the Charlottesville Federal Courthouse, and any members of the

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   press who have applied for and received “Courthouse Press Credentials.” No members of the

   public or others not specifically permitted access above within those specifically identified

   groups will be allowed into the Federal Courthouse during the dates of trial. The Court will

   make available a public drop-box that will be utilized by the Clerk’s Office for any paper

   submissions from parties relating to any other case, during this period.

          Consistent with the security measures and COVID-19 precautions set forth above, and to

   facilitate the public’s access to the trial in this case, the Court has undertaken and will undertake

   the following measures.

          (1) Live Audio Feed. Any interested members of the public or press may listen to a live,

              audio broadcast of the trial. Directions to listen to trial audio will be posted on a

              notice of the Court’s website and on the docket.

          (2) Courthouse Press Credentials. Members of the press who are granted “Courthouse

              Press Credentials,” will be able to watch a live video feed of the trial from another

              room in the Courthouse. A blank copy of the “Application for Courthouse Press

              Credentials,” is attached herewith. Applications will be considered on a rolling basis

              and must be received by October 21, 2021. The Court cannot guarantee that any

              particular news organization or member of the press will be able to receive

              Courthouse press credentials, given the significant space considerations and necessity

              of reducing the number of persons in the Courthouse on account of COVID-19. All

              persons viewing the trial from this location shall be required to wear masks, practice

              social distancing, and conduct health assessments as set forth elsewhere in this Order,

              and as otherwise required of all persons who enter the Charlottesville Courthouse by

              the District’s Standing Orders.



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          (3) Orders/Opinions. The Court intends to post any Orders or Opinions in this case on

              the Western District of Virginia public website for public access, free of charge,

              (http://vawd.uscourts.gov/judges/opinions) by 9:00 a.m. the following morning after

              they are issued.

          This Court’s prior COVID-19 Health Precautions Order is modified to the extent

   inconsistent herewith, see Dkt. 1146 at 4; but shall in all other respects remain in force.

          It is so ORDERED.

          The Clerk of the Court is directed to send a certified copy of this Order to the parties, and

   to the United States Marshal’s Service.

          Entered this 12th      day of October, 2021.




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